                                                                            CLERKS OFFICE U.S. DIST. COURT
                                                                               AT CHARLOTTESVILLE, VA
                                                                                      FILED
                                                                                  07/23/2020
                        IN THE UNITED STATES DISTRICT COURT                    JULIA C. DUDLEY, CLERK
                       FOR THE WESTERN DISTRICT OF VIRGINIA                    BY: /s/ J. JONES
                                 Charlottesville Division                          DEPUTY CLERK

ELIZABETH SINES et al.,                      )
     Plaintiffs,                             )       Civil Action No. 3:17-cv-00072
                                             )
v.                                           )       ORDER TO DEFENDANT
                                             )       ROBERT “AZZMADOR” RAY
                                             )
JASON KESSLER et al.,                        )       By:     Joel C. Hoppe
          Defendants.                        )               United States Magistrate Judge

       This matter is before the Court on Plaintiffs’ motion to sanction pro se Defendant Robert

“Azzmador” Ray for failing to appear at his properly noticed deposition on July 13, 2020, and to

compel Ray to appear at a deposition rescheduled for July 29, 2020. ECF Nos. 803, 813. Ray has

not responded to Plaintiffs’ motion. See ECF No. 101. Plaintiffs’ requests to be reimbursed for

their reasonable fees and expenses caused by Ray’s failure to attend the July 13 deposition, and

for a court order compelling Ray’s attendance at the July 29 deposition are hereby GRANTED.

Fed. R. Civ. P. 37(d). The motion, ECF No. 803, is denied without prejudice in all other respects.

       Defendant Robert “Azzmador” Ray is hereby ORDERED to appear by videoconference

for a deposition upon oral examination by Plaintiffs’ counsel in this matter at 9:30 a.m. ET on

Wednesday, July 29, 2020, as more fully described in the attached Notice, which is sealed. ECF

No. 813. The Court expects Ray to appear and participate in good faith as required by the

Federal Rules of Civil Procedure. Defendant Robert “Azzmador” Ray is hereby warned that

his failure to comply with this Order may result in a bench warrant being issued for his

arrest and the United States Marshal taking him into custody and transporting him to this

judicial district to appear and show cause why he should not be held in contempt of court.

       It is so ORDERED.

       The Clerk shall send a copy of this Order to the parties.
ENTER: July 23, 2020



Joel C. Hoppe
U.S. Magistrate Judge
